1    Tom McAvity, 034403
     Phoenix Fresh Start Bankruptcy
2    4602 E Thomas Rd, Ste S-9
     Phoenix, AZ 85018
3    Phone: 602-598-5075
     Fax: 866-241-4176
4    Email: tom@phoenixfreshstartbankruptcy.com
5                                  UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF ARIZONA
6
                                                     )   Chapter: 13
7    In re:                                          )   Case No. 2:20-bk-01580-EPB
                                                     )
8    KUSHUNE DENISE ALLEN,                           )
                                                     )   MOTION FOR ACCELERATED
9                  Debtor                            )   HEARING ON MOTION TO CONTINUE
                                                     )   AUTOMATIC STAY
10                                                   )
                                                     )
11                                                   )
12
              COMES NOW, Debtor KUSHUNE DENISE ALLEN (“Debtor”) by and through counsel
13   undersigned and hereby moves this Honorable Court for an accelerated hearing on the Motion

14   for Extension of Stay filed the 4th of March , 2020 for the reason that 11 USC §362(c)(3)(B)
     requires that notice and hearing be completed before the expiration of thirty(30) days after the
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     filing of Debtor’s Chapter 13 Case continue the automatic stay in her bankruptcy as to all
16
     creditors. This Motion is supported by the
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19   RESPECTFULLY SUBMITTED this 5th day of March, 2020

20
                                                          /s/ Tom McAvity   ______
21
                                                          Tom McAvity, 034403
22                                                        Phoenix Fresh Start Bankruptcy
                                                          4602 E Thomas Rd, Ste S-9
23                                                        Phoenix, AZ 85018
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     Debtor’s Motion to Expedite
     Case 2:20-bk-01580-EPB           Doc 24 Filed 03/05/20 Entered 03/05/20 15:16:27              Desc
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3
                                        CERTIFICATE OF SERVICE
4
             This is to certify that the foregoing was submitted on March 5th , 2020 in the United States
5
     Bankruptcy Court for filing and transmittal of notice of electronic filing to the United States Trustee,
6
     the Chapter 13 Trustee and the ECF registrants appearing in this case.
7
             By: /s/Tom McAvity_______________________
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     Debtor’s Motion to Expedite
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